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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                    x
In re:                                                         Chapter 11

85 FLATBUSH RHO MEZZ LLC,                                      Case No. 20-23280 (RDD)
                                                               (Jointly Administered)
                                  Debtors.
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                                DECLARATION         OF BRIAN DULITZ

          I, Brian Dulitz, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the

following is true and correct:

          1,       I am an asset manager at Black Iris Capital LLC, a real estate consulting firm

specializing in acquisition, rehabilitation and management of real estate assets.      I am a consultant

for GC Realty Advisors LLC, the Debtors’ Manager.

          2.       I submit this declaration in response to the letter filed by TH Holdco LLC regarding,

among other things, the walk through of the residential component of the premises located at 85

Flatbush Extension, Brooklyn, New York that took place on November 9, 2022.

          3.       At the direction of David Goldwasser, Managing Member of GC Realty Advisors

LLC,     I went to the premises after the Debtors were notified that unauthorized individuals were

observed at the residences. When J arrived at the premises I met with Kendall Pelzer, the new property

manager hired by TH Holdco. We attempted to communicate with the individuals in the residences but

they avoided us and refused to engage in any conversation regarding their continued presence at the

property and refused to vacate the premises.




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         4,        I left the premises and agreed to return to the premises later that afternoon to meet Mr.

Sam Rubin, one of the Debtors’ insiders, and attempt again to have all unauthorized individuals vacate

the premises.     I communicated with Mr. Goldwasser and we agreed that if we could not get these

individuals to vacate, we would notify the New York City police department for their intervention.

         5.        I returned to the property and Mr. Rubin and I again attempted to speak with the

unauthorized individuals, but without success.        TH Holdco notified the police and requested their

assistance.

         6.            The police escorted a locksmith, Sam Rubin, a representative of the new owner

of the property, the new property manager, and myself through the building on the afternoon of

November 9, 2022. We knocked on every single door to see who was there, and to understand

what each situation was. Many units were vacant. The locksmith installed new locks on the

vacant units.     Approximately six units held squatters who opened the doors for us and vacated

with little pushback. The locksmith changed the locks on those units as well. There are about

seven units which were occupied, but the occupant refused to open the unit door, and the police

offices would not allow anyone to break the locks on those units. These occupants were advised

by the police that they would be subject to a court proceeding. The new manager has hired

security for the front door.

         7.        The new owner was discussing with their counsel what their options are regarding

having to give access to the squatters if they were to leave the unit and building.




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          8.       The police left the property and I left soon after.


Dated: New York, New York
       November 11, 2022




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